                                             Case 5:24-cv-03811-EKL                                      Document 275              Filed 11/27/24                   Page 1 of 1


  UNITED STATES DISTRICT COURT                                                                               TRANSCRIPT ORDER                                                                     COURT USE ONLY
 NORTHERN DISTRICT OF CALIFORNIA                                                                                                                                                                      DUE DATE:
                 CAND 435
             (CAND Rev. 07/2024)                                                                                                                24

1a. CONTACT PERSON FOR THIS ORDER                                               2a. CONTACT PHONE NUMBER                                                  3. CONTACT EMAIL ADDRESS
Mel Lamma                                                                       (212) 951-1154                                                              mlamma@oandzlaw.com
1b. ATTORNEY NAME (if different)                                                2b. ATTORNEY PHONE NUMBER                                                 3. ATTORNEY EMAIL ADDRESS
Audrey Adu-Appiah                                                                (202) 851-4080                                                             aadu-appiah@oandzlaw.com
4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)                                                   5. CASE NAME                                                                              6. CASE NUMBER
Oppenheim & Zebrak, LLP
                                                                                                             Concord Music Group, Inc., et al., v. Anthropic PBC                                       5:24-cv-03811
4530 Wisconsin Ave NW, 5th Floor
Washington, DC 20016                                                                                        8. THIS TRANSCRIPT ORDER IS FOR:
7. COURT REPORTER NAME ( FOR FTR, LEAVE BLANK AND                                        ❐ FTR              ❐ APPEAL           ❐ CRIMINAL         ❐ In forma pauperis (NOTE: Court order for transcripts must be
Marla Knox                                                                                                  ❐ NON-APPEAL       ✔ CIVIL
                                                                                                                               ❐                  attached) CJA: Do not use this form; use Form          24                   .


9. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested), format(s) & quantity and delivery type:

                                                                                           b.       SELECT FORMAT(S) (NOTE: ECF access is included
 a.     HEARING(S) (OR PORTIONS OF HEARINGS)                                                                                                              c.        DELIVERY TYPE ( Choose one per line)
                                                                                                    with purchase of PDF, text, paper or condensed.)

      DATE          JUDGE             TYPE                    PORTION                         PDF        TEXT/ASCII    PAPER   CONDENSED    ECF ACCESS   ORDINARY       14-Day   EXPEDITED    3-DAY     DAILY      HOURLY         REALTIME
                                                 If requesting less than full hearing,      (email)        (email)               (email)       (web)     (30-day)                 (7-day)             (Next day)    (2 hrs)
                     (initials)    (e.g. CMC)   specify portion (e.g. witness or time)

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11/25/2024           EKL           Motion




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                                                Full Hearing

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10. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC:




ORDER & CERTIFICATION (11. & 12.) By signing below, I certify that I will pay all charges (deposit plus additional).                                                               12. DATE
11. SIGNATURE
                 /s/ Audrey Adu-Appiah                                                                                                                                             11/27/2024


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